        Case 1:17-cv-00188-JB-GJF Document 14 Filed 03/17/17 Page 1 of 6




                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO



LISA A. KENNICOTT, LISA A.
GARCIA, and SUE C. PHELPS, on behalf
of themselves and a class of those similarly
situated,

                Plaintiffs,

v.                                                           Case 1:17-cv-00188 JB/GJF

SANDIA CORPORATION d/b/a SANDIA
NATIONAL LABORATORIES,

                        Defendant.


              DEFENDANT’S MOTION TO DISMISS STATE LAW CLAIMS

        Defendant Sandia Corporation (“Sandia”) moves to dismiss Plaintiffs’ state law claims

based on the federal enclave doctrine.         The alleged behavior that Plaintiffs contend was

discriminatory and retaliatory took place at Sandia National Laboratories which is located on

Kirtland Air Force Base, a federal enclave. Therefore, the state law claims fail as a matter of

law.

        Sandia made a good-faith request for concurrence with this motion, see D.N.M.LR-Civ.

7.1(a), but Plaintiffs oppose it.

                                       INTRODUCTION

        Plaintiffs filed state and federal claims against Sandia alleging discrimination and

retaliation. Plaintiffs’ state law claims are being pursued under the New Mexico Human

Rights Act (NMHRA) and the New Mexico Fair Pay for Women Act (NMFPWA). (Compl.
        Case 1:17-cv-00188-JB-GJF Document 14 Filed 03/17/17 Page 2 of 6




¶ 1.)   Sandia Corporation, doing business as Sandia National Laboratories, is located on

Kirtland Air Force Base in Albuquerque New Mexico.              (Compl. ¶ 8.)    Throughout their

employment with Sandia, Plaintiffs have worked on Kirtland Airforce Base. (Id. ¶¶ 5-7.)

Kirtland Airforce Base is a federal enclave. Allison v. Boeing Laser Tech. Servs., 689 F.3d

1234, 1236 (10th Cir. 2012).

        As this Court has previously recognized, the federal enclave doctrine precludes state law

claims against Sandia National Laboratories because it is located on a federal enclave. See

Benavidez v. Sandia National Laboratories et.al., No. 15-00922 JB/LF, Am. Mem. Op. & Order

(D.N.M. June 27, 2016) [Doc. No. 64], at 90-94.          In Benavidez, this Court dismissed the

plaintiff’s discrimination and other claims under state law. Id. Dismissal of state law claims is

also appropriate in this action as set forth below.

                              MOTION TO DISMISS STANDARD

        Rule 12(b)(6) authorizes a court to dismiss a complaint for “failure to state a claim upon

which relief can be granted.” Fed. R. Civ. P. 12(b)(6). “The nature of a Rule 12(b)(6) motion

tests the sufficiency of the allegations within the four corners of the complaint after taking those

allegations as true.” Mobley v. McCormick, 40 F.3d 337, 340 (10th Cir. 1994) (Brorby, J.). The

sufficiency of a complaint is a question of law, and when considering a rule 12(b)(6) motion, a

court must accept as true all well-pled factual allegations in the complaint, view those allegations

in the light most favorable to the non-moving party, and draw all reasonable inferences in the

plaintiff’s favor. See Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007)

(“[O]nly if a reasonable person could not draw . . . an inference [of plausibility] from the alleged

facts would the defendant prevail on a motion to dismiss.”); Smith v. United States, 561 F.3d

1090, 1098 (10th Cir. 2009) (Briscoe, J.) (“[F]or purposes of resolving a Rule 12(b)(6) motion,



                                                 -2-
        Case 1:17-cv-00188-JB-GJF Document 14 Filed 03/17/17 Page 3 of 6




we accept as true all well-pled factual allegations in a complaint and view these allegations in the

light most favorable to the plaintiff.”) (citing Moore v. Guthrie, 438 F.3d 1036, 1039 (10th Cir.

2006) (McKay, J.)).

                           THE FEDERAL ENCLAVE DOCTRINE

       Under a body of constitutional law applicable to federal enclaves, state law that is

adopted after the creation of the enclave generally does not apply on the enclave. Allison, 689

F.3d 1234 at 1235. The central principle of the federal enclave doctrine is that Congress has

exclusive authority over these enclaves. Id. The United States Court of Appeals for the Tenth

Circuit has explained:

       But in the absence of applicable federal legislation displacing state law, those
       state laws that existed at the time that the enclave was ceded to the federal
       government remain in force. “Since a State may not legislate with respect to a
       federal enclave unless it reserved the right to do so when it gave its consent to the
       purchase by the United States, only state law existing at the time of the
       acquisition remains enforceable, not subsequent laws.” Paul [v. U.S.], 371 U.S.
       [245,] 268 [(1953)]. Thus, the federal government acquires property subject to
       state law. The Constitution does not command that every vestige of the laws of
       the former sovereignty must vanish. On the contrary its language has long been
       interpreted so as to permit the continuance until abrogated of those rules existing
       at the time of the surrender of sovereignty which govern the rights of the
       occupants of the territory transferred. This assures that no area however small will
       be left without a developed legal system for private rights. James Stewart, 309
       U.S. at 100.

Id. at 1237.

       Both this Court and the Tenth Circuit have confirmed that Kirtland Air Force Base is a

federal enclave subject to exclusive federal jurisdiction. “Kirtland Air Force Base is a federal

enclave: it is located on land that New Mexico ceded to the federal government in 1952 and

1954. Since that time the federal government has exercised exclusive jurisdiction within the

boundaries of the Base.” Allison, 689 F.3d at 1236. Accordingly, this Court recognized in




                                               -3-
       Case 1:17-cv-00188-JB-GJF Document 14 Filed 03/17/17 Page 4 of 6




Benavidez that Kirtland Air Force Base is a federal enclave that was established in 1954. See

Benavidez No. 15-00922 JB/LF, Am. Mem. Op. & Order, (D.N.M. June 27, 2016), at 92. As

explained below, Plaintiffs’ discrimination and retaliation claims were not available in New

Mexico before 1954.

       Plaintiffs assert claims for: (1) discrimination on the basis of sex1 in violation of the

NMHRA, (see Compl. ¶¶ 91-98, at 20-21 (Count III)); (2) disparate impact discrimination on the

basis of sex in violation of the NMHRA, (see Compl. ¶¶ 99-105 at 21-22 (Count IV)); and

(3) sex discrimination under the NMFPWA, (see Compl. ¶¶ 106-112, at 22-23 (Count V)).

Plaintiff Kennicott also asserts a claim of retaliation under the NMHRA. (See Compl. ¶¶ 118-

122, at 23-24 (Count VII)).

       The New Mexico Legislature enacted the NMHRA in 1969.              See N.M. Stat. Ann.

§§ 281-1 to -14; Benavidez, No. 15-00922 JB/LF, Am. Mem. Op. & Order, (D.N.M. June 27,

2016), at 94 (“The NMHRA, which the New Mexico Legislature enacted in 1969, however, did

not exist in 1954”). The New Mexico Legislature enacted the Fair Pay for Women Act in 2013.

See N.M. Stat. Ann. §§ 28-23-1 to 6. Thus, neither of these statutes existed in 1954.

Accordingly, here, as in Benavidez, the federal enclave doctrine bars Plaintiffs’ discrimination

and retaliation claims brought pursuant to the NMHRA and Plaintiffs’ discrimination claim

under the NMFPWA. Because the federal enclave doctrine bars Plaintiffs’ state law claims, the

Court should dismiss them. See Benavidez, No. 15-00922 JB/LF, Am. Mem. Op. & Order,

(D.N.M. June 27, 2016) (granting motion to dismiss NMHRA and tort claims).




1
 The Complaint alleges discrimination based on “gender.” (See, e.g., Compl. ¶ 94.) Both the
NMHRA and the NMFPWA use the term “sex.”


                                             -4-
       Case 1:17-cv-00188-JB-GJF Document 14 Filed 03/17/17 Page 5 of 6




                                        CONCLUSION

       All of Plaintiffs’ state law claims are barred by the federal enclave doctrine. Accordingly,

the Court should dismiss those claims with prejudice pursuant to Rule 12(b)(6) of the Federal

Rules of Civil Procedure.

Respectfully submitted,

RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A. MORGAN, LEWIS & BOCKIUS LLP

By      /s/ Jeffrey L. Lowry                      By Approved Electronically
    Scott D. Gordon                                  Grace E. Speights
    Theresa W. Parrish                               Michael S. Burkhardt
    Jeffrey L. Lowry                                 Krissy A. Katzenstein
    Stephanie L. Latimer                          1111 Pennsylvania Avenue, NW
Post Office Box 1888                              Washington, DC 20004-2541
Albuquerque, New Mexico 87103                     Telephone: (202) 739-3000
Telephone: (505) 765-5900                         Facsimile: (202) 739-3001
Facsimile: (505) 768-7395                         grace.speights@morganlewis.com
sgordon@rodey.com / tparrish@rodey.com            michael.burkhardt@morganlewis.com
jlowry@rodey.com / slatimer@rodey.com             krissy.katzenstein@morganlewis.com

Attorneys for Defendant Sandia Corporation        Attorneys for Defendant Sandia Corporation




                                               -5-
       Case 1:17-cv-00188-JB-GJF Document 14 Filed 03/17/17 Page 6 of 6




                               CERTIFICATE OF SERVICE

        I hereby certify that on the 17th day of March, 2017, I filed the foregoing pleading
electronically through the CM/ECF system, which caused the following parties or counsel to be
served by electronic means:

       Kelly M. Dermody                                Adam T. Klein
       kdermody@lchb.com                               atk@outtengolden.com

       Lin Y. Chan                                     Elizabeth V. Stork
       lchan@lchb.com                                  estork@outtengolden.com

       Anne B. Shaver                                  David Lopez
       ashaver@lchb.com                                pdl@outtengolden.com

       Michael Levin-Gesundheit
       mlevin@lchb.com

                                          RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.

                                          By       /s/ Jeffrey L. Lowry
                                               Jeffrey L. Lowry




                                            -6-
